Case 4:22-cv-Q0074-Bh Document 100-9 Filed 08/08/2
ATT Ach EN "3 /23 Page 1 of 2

MA ter mn a
Seen era

% 423965 BOOK: 79 URE PAGE: 56 Payer: 2
. STATON OF MONTANA VALLEY. COUNTY
PECGRDED: 11/24/2004 1:42 wr: ASSGN CONT
LYANE NYQUIST CLERK AND RECORDER
WEE: $42.00 wy Ped tle
qo: VAG 20 BOX 26, GLASGOW, HE 59220

ASSIGNMENT,
KNOW ALL MEN BY THESE PRESENTS:

‘That the undersigned, Christopher Travis (the “Assignor”), does hereby assign,
transfer and.set over unto Milk River Hunting Preserve, LLC, a Montana limited liability
compariy, of 105 Baker Avenue, Whitefish, Montana 59937, its successors and assigns,
all-of Assignor’s, right, title, estate and interest in and to aContract For Deed dated
October 25, 2001 under which Assignor is.the purchaser of an undivided one-quarter
(1/4) iziterest in real property Jopated in Valley County, Montana more particularly
described as follows:

See Exhibit “A” attached hereto and incorporated by reference.
os! WETNESS WHEREOR, the Assigaor has hereto-executed this Assignment this

b day of A/ADY___, 2003.

srarzor_CA )
County of _ Vang, y

—_— This instrument was acknowledged before me on / He 2003, by:
: Christopher Travis.

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Nat iy Job: rhe State of fad forasce
AONE /O%

My commission expires: _/1

ree MORGAN PAPKE
,.. ;Commission # 1446128

EXHIBIT

Case 4:22-cv-00074-BMM Document 100-9 Filed 08/08/23 Page 2 of 2

123049 Page 2 of 2

EXMIBIT “A”

Township 28 North, Range 41 Bast, MEM

Section 28: NW LNW 1/4 ,

EXCEPTING THEREFROM the Raitroad anc! Highway Right of Way. desoribed as follows:

Beginning at the Northwest Section comer of Section 28; thence S, OD09" W. a distance of 330.00 feat
along the west section line of said Section 28 to the true point of beginning; thence § 0b09’ W.
continuing along the section line a distance of 344.28 feet; thence § 71D44°58” E. a distance of 1392.74
feet; thence N. 01013732” E. along the 1/16 section fine a distance of 334.88 feet; thence N 71D23' 18" W.
along the Highway R/W line a distance of 696.00 feet to highway station 503400; thence N..181036'42"
E. a distance of 20 feet; thence N 71D 23°18” W. along the Highway R/W line 2 distance of 700.11 feot to

the point of tras beginning.
ALSO-EXCEPTING therefrom all of the lands north of the U.5. Highway No. 2 located in.the

NWIL4NW1/4 Section 28, Township 28 North, Renge 41 East, MPM, (Deed reference: Book 124 Deeds
page 852, Doc, No. 36749). . se 7 Do
Excepting therefrom lands conveyed to the State of Montana Highway Commission and more particularly
described in book 65 of Deeds on pages-613-614.

Seotiow2s A strip or piece of land 185 feet wide in the EL/2NW1/4 lying between two lines parallel to
and distant respectively, 75 feet and 260 feet southwesterly, measured at right angles, from the center line
of the main track of the rallway of the Great Northern (now Burlington Northern) Railway Company, 28
now located and constructed, (Deed reference book 63, MRE pages 27-28)

Section 29; All. that part of the right of way of the railway of Great Northem, now Burlington Northam,
lying befween two lines parallel to and distant, respeotively, 75 feet and 260 feet Southwesterly, measured
at right angles ftom the centerline of the milway of the Great Northern Railway {now Burlington
Northem) Company, as now located and cunstruoted and extending from the East linc of said Section 29
Northwesterly to a line drawn at a right angle fo said centerline of milway at a point therein distant
Northwesterly.800 feet, measured along said center line, from its intersection with the East tne of said
Section 29, (eed reference book 61 MRE pages 323-328)

Section 29: Lots 6, 7, 13, 15, S1/2NB1/4

Section 29: Lots i, 2, 5, 8, 10, 11, NINBI4 less railroad and highway right-of-way

Section 30) Lot 23

Situated in Valley County, Montana.

STATE OF MONTANA }
355
County of Valley )

o'clock

_ Recorded at the request of ___.this___dayof___, 2003 at
.m, and recorded ii the records of Valley County, State of Montana.

Fee $ Pd.

Valley County Ckakand Recorder

Reception No.

Deputy
After reeording please return to:
Vincent G. Rieger
Law Office of Vincent G. Rieger, B.C.

4 Meridian Court
Kalispell, MT 59901

Exhibit A attached to and made a part of that certain Assignment dated fabuted fo. 2003, by Christopher
Travis, as Assignor, and Milk River Hunting Preserve, LLC, a Montana limited He*ility company, as Assignee.

